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 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11   JIMMY HERNANDEZ,              )      NO. CV 20-10416-DMG(E)
                                   )
12                  Petitioner,    )
                                   )      ORDER ACCEPTING FINDINGS,
13        v.                       )
                                   )      CONCLUSIONS AND RECOMMENDATIONS
14   JOHN SUTTON, Warden,          )
                                   )      OF UNITED STATES MAGISTRATE JUDGE
15                                 )
                    Respondent.    )
16   ______________________________)
17

18         Pursuant to 28 U.S.C. section 636, the Court has reviewed the
19   Petition, all of the records herein and the Report and Recommendation
20   of United States Magistrate Judge.   Further, the Court has engaged in
21   a de novo review of those portions of the Report and Recommendation
22   to which any objections have been made.   The Court accepts and adopts
23   the Magistrate Judge’s Report and Recommendation.
24

25         IT IS ORDERED that Judgment be entered denying and dismissing
26   the Petition with prejudice.
27   ///
28   ///
 1        IT IS FURTHER ORDERED that the Clerk serve copies of this Order,

 2   the Magistrate Judge’s Report and Recommendation and the Judgment

 3   herein on Petitioner and counsel for Respondent.

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 5        LET JUDGMENT BE ENTERED ACCORDINGLY.

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 7   DATED: June 7, 2021

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10                              ___________________________________
                                            DOLLY M. GEE
11                                  UNITED STATES DISTRICT JUDGE

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